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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                         CRIMINAL NO. 07-488 (ADC)
                v.

 [58] SANTOS JAIME-LOPEZ,

 Defendant.


                          REPORT AND RECOMMENDATION

       Defendant Santos Jaime-López was charged in Counts One (1) through Five (5), and

Count Eleven (11) of an Indictment and he agreed to plead guilty to Count One of the

Indictment. Count One charges that, beginning in or about the year 2005, exact date

unknown, and continuing up to and until the return the instant indictment in Trujillo Alto,

Carolina and San Juan, District of Puerto Rico and elsewhere, and within the jurisdiction of

this Court, defendant Jaime-López and other defendants, did knowingly and intentionally,

conspire, combine and agree with each other and others known and unknown to the Grand

Jury, to commit offenses against the United States, that is, to possess with intent to distribute

one (1) kilogram or more of heroin, a Schedule I, Narcotic Controlled Substance; fifty (50)

grams or more of cocaine base hereinafter referred to as crack cocaine), a Schedule II

Controlled Substance, five (5) kilograms or more of cocaine, a Schedule II, Controlled

Substance; and detectable amounts of marihuana, a Schedule I, Controlled Substance,

within one thousand (1,000) feet of the real property comprising a housing facility owned

by a public housing authority, that is, Nuestra Señora de Covadonga Public Housing Project;

or of a public school, that is the Head Start Program Located within Nuestra Señora de

Covadonga Public Housing Project all in violation of Title 21, United States Code, Sections

846, 845(a)(1), (b)(1)(c), (b)(2), and 860.
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         On October 28, 2008, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right to

Trial by Jury, which he signed and agreed upon voluntarily after examination in open court,

under oath.

         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge of

this court.1 Upon verifying through defendant’s statement his age, education and any relevant

aspect as to the use of medication, drugs, alcohol or substance dependency, and psychological

or psychiatric condition, to ascertain his capacity and ability to understand, answer and

comprehend the interactive colloquy with this Magistrate Judge, a determination was made

as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

he was examined and verified as being correct that: he had consulted with his counsel, Luis

Guzmán-Dupont, prior to the hearing for change of plea, that he was satisfied with the services

provided by his legal representative and had time to discuss with him all aspects of the case,

insofar, among other things, regarding the change of plea, the consent to proceed before a

United States Magistrate Judge, the content of the Indictment and the charges therein, his

constitutional rights and the consequences of the waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who have

to unanimously agree to a verdict. He was also waiving his right to be presumed innocent and




         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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for the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them, through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically apprised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a

waiver of all above-discussed rights a judgment of guilty and his sentence were to be based on

his plea of guilty, and he would be sentenced by the judge after considering the information

contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Guzmán-Dupont,

indicated he freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that he could freely request from this

Magistrate Judge any additional clarification, repetition, or ask questions and that he may

consult with his attorney at any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count One

is term of imprisonment of not less than (10) years and up to life imprisonment, a fine not to

exceed four million dollars ($4,000,000.00), a term of supervised release of at least five (5)

years in addition to any term of incarceration. In accordance with Title 21, United States Code,

Section 860, the maximum penalties would be twice that of Sections 841, and at least twice the

term of supervised release authorized by Section 841. The Court must also impose a
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mandatory penalty assessment of one hundred dollars($100.00), per count, to be deposited

in the Crime Victim Fund.

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document entitled

“Plea Agreement” pursuant to Rule 11(c)(1)(A) and (B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement” were shown to defendant, verifying his signature and initials on each

and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant already

was aware of the maximum possible penalties, defendant was apprised that it was up to the

sole discretion of the sentencing court what the sentence to be imposed on him will be.

Defendant was specifically informed that if the sentencing court were to impose a sentence

which turned out to be higher or more severe than the one he might be expecting, for said

reason alone, defendant would have no grounds for the court to allow him to withdraw his plea

of guilty.

        The above-captioned parties’ estimate and agreement that appears on page four (4),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory Sentencing

Guidelines, were further elaborated and explained. The parties stipulate that, as part of the

plea agreement, the defendant is accepting responsibility for at least four hundred (400) grams

but less than five hundred (500) grams of cocaine. Pursuant to U.S.S.G. § 2D1.1(8), the Base

Offense Level is of Twenty-Four (24). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level

increase is warranted for protected location. Pursuant to U.S.S.G. § 3B1.2(a), a decrease of

four (4) levels is agreed for minimal participation. Pursuant to U.S.S.G. § 3E1.1, a decrease of

three (3) levels is agreed for acceptance of responsibility. Therefore, the Total Offense Level
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is of Nineteen (19), yielding an imprisonment range of thirty-three (33) to forty-one (41)

months, assuming a Criminal History Category of I.

        Pursuant to paragraph eight (8), the parties specifically agree to recommend to the

Court that the defendant be sentenced to a term of imprisonment of thirty-six (36) months.

Any recommendation for a term of imprisonment of less than thirty-six (36) months would

constitute a material breach of the plea agreement, unless defendant seeks to engage the

“safety valve” provisions found in U.S.S.G. § 5C1.2.

        Pursuant to paragraph ten (10), the United States and the defendant agree that no

further adjustments or departures to the defendant’s total adjusted base offense level shall be

sought by the parties. The parties agree that any request by the defendant for an adjustment

or departure will be considered a material breach of this plea agreement. The parties agree

that any request by the defendant for a sentence below the agreed upon term of thirty-six (36)

months or for an adjustment or departure will be considered a material breach of this plea

agreement.

        Pursuant to paragraph eleven (11), the parties do not stipulate any assessment as to the

defendant’s Criminal History Category.

        At sentencing, the United States agrees to recommend a dismissal of the remaining

counts of the Indictment which were filed against the defendant.

        As part of the written Agreement, the government, the defendant, and his counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the
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commission of the offense, beyond a reasonable doubt. Counsel and defendant acknowledged

the evidence of the government was fully disclosed to them and previously discussed between

the two. Defendant was able to understand this explanation and agreed with the government’s

submission.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any

sentence of imprisonment would be served, without him being released on parole. Defendant

was additionally informed that prior to sentence, the sentencing judge will have a pre-sentence

report and that it would be made available to him, to his counsel and to the government, so

that they be allowed to correct or object to any information contained in said report which was

not accurate. Depending on the facts found by the court at the time and the sentence imposed,

both defendant and the government may appeal the sentence of the court.2

         Count One of the Indictment was read in open court to defendant and he stated he

understood the charges and that he was pleading guilty to Count One. Defendant was shown

a written document entitled Statement of Facts, which had been signed by defendant and his

counsel and is attached to the Agreement, wherein the signature of counsel for the government

also appears. Defendant was provided an opportunity to see and examine same, indicating



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          The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in
paragraph twenty (20) a waiver of appeal. Defendant acknowledged discussing the waiver of appeal with his counsel and
stated he understood the consequences of the same.
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he availed himself of the opportunity to further discuss same with his attorney and then he

positively stated that what was contained in Count One was what he had done and to which he

was pleading guilty during these proceedings. Thereafter, defendant expressed in no uncertain

terms that he agreed with the government’s evidence as to his participation in the offense.

Thereupon, defendant indicated he was pleading guilty to Count One of the Indictment in

Criminal No. 07–488 (ADC).

        This Magistrate Judge after having explained to the defendant his rights, ascertaining

that he was acting freely and voluntarily to the waiver of such rights and in his decision of

pleading guilty, with full knowledge of the consequences thereof, and there being a basis in fact

for such a plea, is recommending that a plea of guilty be entered as to Count One of the

Indictment in Criminal No. 07-488 (ADC).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

        San Juan, Puerto Rico, this 28th day of October of 2008.



                                                      s/ CAMILLE L. VELEZ-RIVE
                                                      CAMILLE L. VELEZ-RIVE
                                                      UNITED STATES MAGISTRATE JUDGE
